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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY
                                     MINUTES OF PROCEEDINGS
                                             (SEALED)


OFFICE: TRENTON                                               DATE: JUNE 16, 2025
JUDGE: ROBERT KIRSCH
COURT REPORTER: PAULA HOROVITZ


TITLE OF CASE:                                                CRIMINAL NO. 23-CR-1053 (RK)
UNITED STATES OF AMERICA
v.
BORUCH DRILLMAN
        DEFENDANT NOT PRESENT

APPEARANCES:
Martha Nye, AUSA and Babasijibomi Moore, AUSA for the Government
Lars Hansen, Special Agent with the Federal Housing Finance Agency Office of Inspector General
Jeffrey Lichtman, Esq., Jeffrey Einhorn, Esq. and Marc Fernich, Esq., counsel for the Defendant
Daniel Carney, U.S. Probation


NATURE OF PROCEEDINGS: SENTENCING ON COUNT 1 OF INFORMATION
Probation: 5 years with special conditions.
Fine: $250,000.00.
Special Assessment: $100.00.
Restitution Hearing to be scheduled
Defendant advised of right to appeal.
Ordered transcript sealed.
Defendant released.


Time Commenced:          1:32 p.m.
Time Adjourned:          3:38 p.m.
Total Time:              2 hours 6 minutes


                                                                      s/ Patricia Markey
                                                                        DEPUTY CLERK
